                                                                               20935 Swenson Drive, Suite 310
                                                                                       Waukesha, WI 53186
                                                                                            Ph 262-777-2200
                                                                                           Fax 262-777-2201
                                                                                             www.otjen.com


                                 Writer's Direct Dial # (262) 777-2215
                                Writer’s e-mail address rguse@otjen.com

                                      February 20, 2024


VIA E-FILING
Honorable Lynn Adelman
United States Federal Building and Courthouse
517 E. Wisconsin Ave. Rm. 364
Milwaukee, WI 53202

       RE:    Estate of the Unborn Child of Jennifer Jawson, et al v.
              Armor Correctional Health Services Inc., et al
              Case No. 19-CV-1008
              Our File No.: 190126

Dear Judge Adelman:

      This letter will serve to provide an update to the Court regarding the status of Dr.
Ronquillo’s father.

        Dr. Ronquillo’s father’s condition continues to deteriorate. As documented in the note
filed along with this letter, Dr. Ronquillo’s father suffers from a number of conditions that
make his passing imminent. He remains on continuous oxygen and, with the exception of
one to two cans of Ensure meal replacement drinks, is not eating.

        Dr. Ronquillo remains in frequent contact with her family regarding the situation and
is actively involved in managing her father’s care and the family’s medical decision-making.

       In the event that Dr. Ronquillo’s father passes in the remaining days before trial, we
will notify the Court and the parties immediately and will be seeking an adjournment of the
trial.

       Dr. Ronquillo’s wish is to be able to rejoin her family as quickly as possible upon her
father’s passing. In the event that his passing occurs during trial, we will be moving for a
mistrial and requesting that the Court release Dr. Ronquillo from the subpoena that was
served upon her by plaintiff.

                                                        Very truly yours,

                                                        OTJEN LAW FIRM, S.C.




                                                        Randall R. Guse
RRG/mjt
ecc:   All Counsel of Record (via eNotice)



          Case 2:19-cv-01008-LA Filed 02/20/24 Page 1 of 1 Document 300
